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4
                                  UNITED STATES DISTRICT COURT
5                               SOUTHERN DISTRICT OF NEW YORK
6                                                  §
     CODING TECHNOLOGIES, LLC,                     §
7                                                  §
                   Plaintiff,                      §   Case No.: 1:17-cv-7783
8                                                  §
           vs.                                     §
9                                                  §   COMPLAINT
     FLIPBOARD, INC.,                              §
10
                                                   §   INJUNCTIVE RELIEF DEMANDED
11
                   Defendant.                      §
                                                   §   JURY TRIAL DEMANDED
12                                                 §
                                                   §
13                                                 §

14
            Plaintiff, CODING TECHNOLOGIES, LLC, sues Defendant, FLIPBOARD, INC., and
15
     alleges as follows:
16
                                        NATURE OF THE ACTION
17
            1.        This is an action for infringement of United States Patent No. 8,540,159 under the
18
     Patent Act, 35 U.S.C. § 271, et seq., based on Defendant’s unauthorized commercial
19
     manufacture, use, importation, offer for sale, and sale of infringing products and services in the
20
     United States.
21

22
                                                  PARTIES

23          2.        Plaintiff, CODING TECHNOLOGIES, LLC, is a foreign limited liability

24   company, organized under the laws of the State of Texas.

25          3.        Defendant, FLIPBOARD, INC., is a foreign corporation with its headquarters



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1    located in Palo Alto, California. Defendant uses, sells, and/or offers to sell products and services
2    in interstate commerce that infringe the ‘159 Patent.
3
                                   SUBJECT MATTER JURISDICTION
4
             4.       This court has original jurisdiction over the subject matter of this action, pursuant
5
     to 28 U.S.C. §§ 1331 and 1338(a), because this action involves a federal question relating to
6
     patents.
7
                                        PERSONAL JURISDICTION
8
             5.       The court has general in personam jurisdiction over Defendant because Defendant
9
     is found in this state.
10

11
                                                    VENUE

12           6.       Venue is proper in this court, pursuant to 28 U.S.C. § 1400(b), because Defendant

13   has committed acts of infringement in this district and has a regular and established place of

14   business in this district.

15                                             COUNT I
                                         PATENT INFRINGEMENT
16
             7.       Plaintiff repeats and re-alleges paragraphs 2 through 6 by reference, as if fully set
17

18   forth herein.

19           8.       On September 24, 2013, the United States Patent & Trademark Office (USPTO)

20   duly and legally issued the ‘159 Patent, entitled “Method for Providing Mobile Service Using

21   Code Pattern.” A true and authentic copy of the ‘159 Patent is attached hereto as Exhibit “A”
22   and incorporated herein by reference.
23
             9.       The ‘159 Patent teaches a method and apparatus for providing a mobile service
24
     with the use of code pattern.
25
             10.      The ‘159 Patent is directed to computerized decoding technologies to provide


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1    users with access to and use of various content more conveniently. Traditionally, companies
2    simply provided their URL information to the consuming public, but this is effective only if a
3
     consumer memorized the name and spelling of the URL. Thus, there was a need in the art to
4
     provide an effective product or method to assist consumers with recalling website or URL
5
     information.
6
               11.   The ‘159 Patent claims, among other things, a method of providing content with
7
     the use of code pattern by a user terminal; a user terminal for providing content with the use of
8
     code pattern; a non-transitory machine-readable storage medium having encoded thereon
9
     program code; and, a method of providing content with the use of an image captured by a user
10

11
     terminal.

12             12.   Collectively, the claimed embodiments in the ‘159 Patent provide new solutions

13   to problems related to transmitting information from a mobile service provider to a mobile

14   device.

15             13.   The ‘159 Patent solves a problem with the art that is rooted in computer
16
     technology that uses mobile service providers. The ‘159 Patent does not merely recite the
17
     performance of some business practice known from the pre-Internet world along with the
18
     requirement to perform it on the Internet.
19
               14.   Plaintiff is the assignee of the entire right, title, and interest in the ‘159 Patent at
20
     the USPTO, including the right to assert causes of action arising under the ‘159 Patent.
21
               15.   Upon information and belief, Defendant has and continues to directly infringe,
22
     contributorily infringe, or actively induce the infringement of the ‘159 Patent by making, using
23
     (including by at least internally testing the Accused Products as defined herein), selling, offering
24

25   for sale, importing in the United States, including this judicial district, a user terminal designed



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1    to capture certain code pattern information and convert same into embedded content, which
2    embodies or uses the invention claimed in the ‘159 Patent (the “Accused Products”), all in
3
     violation of 35 U.S.C. § 271.
4
            16.     The Accused Products infringe at least claims 1, 2, 15, and 16 of the ‘159 Patent.
5
                                                   Claim 1
6
            17.     Through claim 1, the ‘159 Patent claims a method of providing content with the
7
     use of a code pattern by a user terminal, the method comprising: obtaining a photographic image
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     of a code pattern by a camera of the user terminal; processing, by a processor of the user
9
     terminal, the photographic image of the code pattern to extract the code pattern from the
10

11
     photographic image; decoding the extracted code pattern by the processor of the user terminal

12   into code information; transmitting a content information request message to a server based on

13   the code information; and receiving content information from the server in response to the

14   content information request message.

15          18.     Defendant infringes claim 1.
16
            19.     Defendant, at least in internal use and testing, practices a method of providing
17
     content (e.g., a web page associated with the defendant) with the use of a code pattern (e.g., a QR
18
     code) by a user terminal (e.g., a smartphone), as demonstrated in the following images:
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              20.   Defendant, at least in internal use and testing, obtains a photographic image of a
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     code pattern (e.g., QR code) by a camera of the user terminal (e.g., smartphone), as shown
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     below:
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11          21.    Defendant, at least in internal use and testing, processes by a processor of the user

12   terminal (e.g., smartphone), the photographic image of the code pattern (e.g., QR code) to view

13   and extract the code pattern from the photographic image, as shown below:
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11          22.    Defendant, at least in internal use and testing, decodes the extracted code pattern
12   by the processor of the user terminal from the QR code into code information (e.g., URL of web
13
     page associated with the defendant), as shown below:
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10          23.     Defendant, at least in internal use and testing, transmits a content information
11   request message (e.g., http request message for accessing the webpage associated with
12
     Defendant) to a server (e.g., Defendant’s server) based on the code information (e.g., URL of the
13
     webpage associated with Defendant). As shown below, once the URL is decoded from the
14
     extracted QR code, a request for accessing a webpage associated with Defendant is sent to
15
     Defendant’s server.
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     24.   Defendant, at least in internal use and testing, receives content information (e.g., a

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1    web page associated with Defendant) from the server (e.g., Defendant’s server) in response to
2    the content information request message (e.g., http request message for accessing the webpage
3
     associate with Defendant). The terminal (e.g., smartphone) receives content information (e.g.,
4
     webpage associated with Defendant).
5
                                                   Claim 2
6
             25.    Through claim 2, the ‘159 Patent claims the method of claim 1, wherein the
7
     content information comprises at least one of the following: image, sound, moving picture, and
8
     text data.
9
             26.    Defendant infringes claim 2.
10

11
             27.    Defendant uses a user terminal to receive content information that comprises

12   image and text data, as shown below:

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20                                                 Claim 15
21           28.    Through claim 15, the ‘159 Patent claims a non-transitory machine-readable
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     storage medium, having encoded thereon program code, wherein, when the program code is
23
     executed by a machine, the machine implements a method for providing content with the use of a
24
     code pattern by a user terminal, comprising the steps of: obtaining a photographic image of a
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     code pattern by a camera of the user terminal; processing, by a processor of the user terminal, the


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1    photographic image of the code pattern to extract the code pattern from the photographic image;
2    decoding the extracted code pattern by the processor of the user terminal into code information;
3
     transmitting a content information request message to a server based on the code information;
4
     and receiving content information from the server in response to the content information request
5
     message.
6
            29.     Defendant infringes claim 15.
7
            30.     Defendant, at least in internal use and testing, practices a method of providing
8
     content (e.g., a webpage associated with Defendant) with the use of a code pattern (e.g., a QR
9
     code) by a user terminal (e.g., a smartphone).
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11
            31.     Defendant, at least in internal use and testing, obtains a photographic image of a

12   code pattern (e.g., QR code) by a camera of the user terminal (e.g., smartphone).

13          32.     Defendant, at least in internal use and testing, uses a processor of the user

14   terminal (e.g., smartphone) to processes the photographic image of the code pattern (e.g., QR

15   code) to extract the code pattern from the photographic image.
16
            33.     Defendant, at least in internal use and testing, decodes the extracted code pattern
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     by the processor of the user terminal into code information (e.g., URL of web page associated
18
     with Defendant).
19
            34.     Defendant, at least in internal use and testing, transmits and receives a content
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     information request message (e.g., http request message for accessing the webpage associated
21
     with Defendant) to and from a server (e.g., Defendant’s server) based on the code information
22
     (e.g., URL of the webpage associated with Defendant).
23
                                                  Claim 16
24

25          35.     Through claim 16, the ‘159 Patent claims a method of providing content with the



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1    use of an image captured by a user terminal, the method comprising: obtaining a photographic
2    image by a camera of the user terminal; processing, by a processor of the user terminal, the
3
     photographic image to extract characteristic information from the photographic image;
4
     transmitting a content information request message with the extracted characteristic information
5
     to a server; and receiving content information from the server in response to the content
6
     information request message.
7
            36.     Defendant infringes claim 16.
8
            37.     Defendant, at least in internal use and testing, practices a method of providing
9
     content (e.g., a webpage associated with Defendant) with the use of a code pattern (e.g., a QR
10

11
     code) by a user terminal (e.g., a smartphone).

12          38.     Defendant, at least in internal use and testing, obtains a photographic image of a

13   code pattern (e.g., QR code) by a camera of the user terminal (e.g., smartphone).

14          39.     Defendant, at least in internal use and testing, processes by a processor of the user

15   terminal (e.g., smartphone), the photographic image of the code pattern (e.g., QR code) to extract
16
     characteristic information from the photographic image.
17
            40.     Defendant, at least in internal use and testing, transmits and receives a content
18
     information request message (e.g., http request message for accessing the webpage associated
19
     with Defendant) to or from a server (e.g., Defendant’s server) based on the extracted
20
     characteristic information (e.g., URL of the webpage associated with Defendant).
21
            41.     Upon information and belief, Defendant has known of the existence of the ‘159
22
     Patent, and its acts of infringement have been willful and in disregard for the ‘159 Patent,
23
     without any reasonable basis for believing that it had a right to engage in the infringing conduct.
24

25          42.     Defendant’s acts of infringement of the ‘159 Patent have caused and will continue



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1    to cause Plaintiff damages for which Plaintiff is entitled to compensation pursuant to 35 U.S.C. §
2    284.
3
            43.     Defendant’s acts of infringement of the ‘159 Patent have caused and will continue
4
     to cause Plaintiff immediate and irreparable harm unless such infringing activities are also
5
     enjoined by this court pursuant to 35 U.S.C. § 283. Plaintiff has no adequate remedy at law.
6
            44.     Upon information and belief, the ‘159 Patent, at all times material, was and is in
7
     compliance with 35 U.S.C. § 287.
8
            45.     Plaintiff retained the law firm of WATSON LLP to represent its interests in this
9
     action, and is obligated to pay such firm reasonable attorneys’ fees for its services. Plaintiff may
10

11
     recover its attorneys’ fees and costs from Defendant, pursuant to 35 U.S.C. § 285, because this

12   case is exceptional.

13          WHEREFORE, Plaintiff, CODING TECHNOLOGIES, LLC, demands judgment

14   against Defendant, FLIPBOARD, INC., and respectfully seeks the entry of an order (i) adjudging

15   that Defendant has infringed the ‘159 Patent, in violation of 35 U.S.C. § 271; (ii) granting an
16
     injunction enjoining Defendant, its employees, agents, officers, directors, attorneys, successors,
17
     affiliates, subsidiaries and assigns, and all of those in active concert and participation with any of
18
     the foregoing persons or entities from infringing, contributing to the infringement of, or inducing
19
     infringement of the ‘159 Patent; (iii) ordering Defendant to account and pay damages adequate to
20
     compensate Plaintiff for Defendant’s infringement of the ‘159 Patent, with pre-judgment and
21
     post-judgment interest and costs, pursuant to 35 U.S.C. § 284; (iv) ordering that the damages
22
     award be increased up to three times the actual amount assessed, pursuant to 35 U.S.C. § 284; (v)
23
     declaring this case exceptional and awarding Plaintiff its reasonable attorneys’ fees, pursuant to
24

25




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1    35 U.S.C. § 285; and, (vi) awarding such other and further relief as this court deems just and
2    proper.
3

4    DATED on October 11, 2017

5
                                                  Respectfully submitted,
6
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                                                   Attorneys for Plaintiff,
15
                                                   CODING TECHNOLOGIES, INC.
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